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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


 IN RE: NATIONAL PRESCRIPTION
 OPIATE LITIGATION                                            MDL No. 2804

 This document relates to the following cases:

 Lee County, Virginia v. Purdue Pharma, L.P. et al.
 1:19-op-45251-DAP
 Dickenson County v. Purdue Pharma, L.P. et al.
 1:19-op-45252-DAP
 Washington County, Virginia v. Purdue Pharma, L.P.
 et al.
 1:19-op-45254-DAP
 Pittsylvania County v. Purdue Pharma, L.P. et al.
 1:19-op-45247-DAP
 City of Norton, Virginia v. Purdue Pharma L.P. et al.
 1:19-op-45249-DAP
 Henry County, Virginia v. Purdue Pharma, L.P. et al.
 1:19-op-45245-DAP
 Page County v. Purdue Pharma, L.P. et al
 1:19-op-45275-DAP
 City of Galax, Virginia v. Purdue Pharma, L.P. et al.
 1:19-op-45243-DAP
 Montgomery County v. Purdue Pharma, L.P. et al.
 1:19-op-45234-DAP
 Giles County v. Purdue Pharma, L.P. et al.
 1:19-op-45236-DAP
 City of Alexandria v. Purdue Pharma, L.P. et al.
 1:19-op-45246-DAP




     PLAINTIFFS’ OBJECTIONS TO FILING PLAINTIFF FACT SHEETS AND
    AMENDED COMPLAINTS IN THIS COURT PRIOR TO A RULING ON THEIR
         MOTIONS TO REMAND AND BRIEF IN SUPPORT THEREOF

       Plaintiffs Lee County, Virginia, Dickenson County, Virginia, Washington County,

Virginia, Pittsylvania County, Virginia, Henry County, Virginia, Page County, Virginia,

Montgomery County, Virginia, Giles County, Virginia, the City of Norton, Virginia, the City of

Galax, Virginia, and the City of Alexandria, Virginia (collectively, “Plaintiffs”) hereby object to
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being compelled to file Plaintiff Fact Sheets in this Court prior to a ruling on the motions to remand

that they have filed and that are currently pending before this Court. Plaintiffs contend that this

Court lacks subject matter jurisdiction over their claims, and, thus, lacks the authority to compel

Plaintiffs to engage in what amounts to substantive defensive discovery in federal court. Plaintiffs

further object to the ostensible deadline and requirement that they file amended complaints in

federal court despite the fact that there is no federal jurisdiction over any of their claims. In support

of their objections, Plaintiffs state that there is no federal subject matter jurisdiction over any of

their cases, and, thus, any action taken by this Court in their cases other than ruling on their motions

to remand would be an improper exercise of this Court’s limited jurisdiction.

                FACTUAL BACKGROUND AND PROCEDURAL HISTORY

        The opioid epidemic that has devastated communities across the nation and in the

Commonwealth of Virginia is the foreseeable consequence of the intentional acts and negligence

of the Defendants named in the actions that Plaintiffs have filed. Defendants have engaged in a

purposeful scheme to increase opioid utilization through fraudulent marketing, distribution, and

reimbursement of prescription opioids, which has predictably resulted in an explosion of addiction,

overdose, and the accompanying foreseeable consequences thereof. Plaintiffs have been forced to

allocate precious public resources to address the direct harms suffered as a result: increased burden

on law enforcement, public health services, the court system, the foster care system, education—

virtually every facet of government administration has been adversely impacted by the epidemic.

        In response to these facts, 41 independent cities and counties across Virginia represented

by the undersigned counsel, including Plaintiffs, have filed lawsuits in Virginia state courts seeking

damages for the harm they have incurred as a result of the negligent and purposeful acts of opioid

manufacturers, distributors, and pharmacy benefit managers. However, certain defendants in each



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of the 41 actions filed a notice of removal and a supplemental notice of removal asserting grounds

for federal jurisdiction that have been repeatedly rejected across the country in similar cases related

to the opioid epidemic.

       Of the 41 suits removed from Virginia state court, the 11 Plaintiffs’ cases have been

transferred to this MDL, while 21 additional cases have been stayed pending a decision by the

Joint Panel on Multidistrict Litigation (“the Panel”) on transfer into the MDL, all without a ruling

on the jurisdictional remand issues. An additional 6 cases are still awaiting rulings by the federal

district courts on stay or remand. In all three instances where a Virginia federal district court has

ruled on the jurisdictional remand issues, the court has determined that remand is appropriate. See

City of Galax v. Purdue Pharma, L.P., Civil Action No. 7:18-cv-00617, 2019 U.S. Dist. LEXIS

24551, at *13-16 (W.D. Va. Feb. 14, 2019) (remanding City of Martinsville, No. 4:18-cv-72); The

County Board of Arlington Cty., Va. v. Purdue Pharma L.P., et al., No. 1:19cv402(AJT/TCB),

ECF No. 63 (E.D. Va. May 6, 2019); Dinwiddie Cty., Va. v. Purdue Pharma L.P., et al., No.

3:19cv242(REP), ECF No. 49 (E.D. Va. June 18, 2019).

       Shortly after Plaintiffs’ cases were removed to federal court, certain defendants designated

them as tag-along actions to the MDL. See In re: National Prescription Opiate Litigation, MDL

No. 2804, Dkt. Nos. 4355; 4358; 4396; 4398. On December 27, 2018, the Clerk of the Panel

entered CTO–73, conditionally transferring Plaintiffs’ cases to the MDL. See In re: National

Prescription Opiate Litigation, Dkt. No. 3321. On April 3, 2019, the Panel transferred Plaintiffs’

cases to the MDL over Plaintiffs’ objections and without consideration of the merits of Plaintiffs’

arguments that there is no federal jurisdiction over their cases. As this Court is aware, the Court’s

November 8, 2018 Order Regarding Plaintiff’s Motion for Modification of CMO-1 requires

plaintiffs whose cases have been transferred to the MDL to submit Plaintiff Fact Sheets within 90



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days of their cases being docketed in the MDL, and to file amended complaints within 90 days of

transfer to the MDL. Order Regarding Plaintiff’s Motion for Modification of CMO-1 Dkt. No.

1106 at 3 n.7 (filed Nov. 8 2018).

                                            ARGUMENT

        “Without jurisdiction the court cannot proceed at all in any cause. Jurisdiction is the power

to declare law, and when it ceases to exist, the only function remaining to the court is that of

announcing the fact and dismissing the cause.” Steel Co. v. Citizens for a Better Env’t, 523 U.S.

83, 94 (1998). Thus, if a federal court does not have jurisdiction over a removed case, it lacks the

power to do anything other than remand to the state court. See Hughes v. Wells Fargo Bank, N.A.,

617 F. App’x 261, 263 (4th Cir. 2015) (“If the district court determines at any time before final

judgment that it lacks subject matter jurisdiction over a removed action, it must remand to state

court.”); In re Blackwater Sec. Consulting, LLC, 460 F.3d 576, 589 (4th Cir. 2006) (“[O]nce a

district court has found that it lacks subject matter jurisdiction in a removed case, no other fact-

finding, legal analysis, or exercise of judicial discretion is necessary in order to follow the

congressional directive; the decision to remand a case to remedy a lack of subject matter

jurisdiction is purely ministerial.”). If this Court lacks jurisdiction over Plaintiffs’ cases, it may not

exercise its judicial discretion to impose discovery obligations or compel Plaintiffs to file amended

complaints in this Court. Rather, the only judicial function that this Court may properly exercise

over Plaintiffs’ claims is to promptly remand them to Virginia state court.

        It is evident that there is no basis for federal jurisdiction over any of the Plaintiffs’ cases—

the parties are not completely diverse, CAFA does not apply, and Plaintiffs do not assert any

federal causes of action. All three federal courts in Virginia that have considered Defendants’ bases

for removing opioid actions that are effectively identical to Plaintiffs’ actions have rejected those



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bases and remanded Plaintiffs’ cases to state court. See City of Galax v. Purdue Pharma, L.P.,

Civil Action No. 7:18-cv-00617, 2019 U.S. Dist. LEXIS 24551, at *13-16 (W.D. Va. Feb. 14,

2019) (rejecting defendants’ asserted basis of removal under CAFA and remanding City of

Martinsville, No. 4:18-cv-72); The County Board of Arlington Cty., Va. v. Purdue Pharma L.P.,

et al., No. 1:19cv402(AJT/TCB), ECF No. 63 (E.D. Va. May 6, 2019) (rejecting all of defendants’

arguments for removal and granting plaintiff’s motions to remand); Dinwiddie Cty., Va. v. Purdue

Pharma L.P., et al., No. 3:19cv242(REP), ECF No. 49 (E.D. Va. June 18, 2019) (same). Indeed,

as far as Plaintiffs are aware, every district court in the country that has addressed the merits of a

motion to remand in an opioid case similar to Plaintiffs’ cases has remanded the case.1



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  See Commonwealth of Kentucky v. Walgreens Boots All., Inc., (In Re: National Prescription
Opiate Litigation), MDL No. 2804, 1:18-op-46311-DAP (N.D. Ohio Jan. 14, 2019), No. 13
(Polster, J.); Montana v. Purdue Pharma (In Re: National Prescription Opiate Litigation), MDL
No. 2804, 2018 U.S. Dist. LEXIS 143589, **5-7, 2018 WL 4019413, at *3 (N.D. Ohio Aug. 23,
2018) (Polster, J.); City of Reno v. Purdue Pharma, L.P., No. 3:18-cv-454, 2018 U.S. Dist. LEXIS
187821, 2018 WL 5730158, *4 (D. Nev. Nov. 2, 2018);; Mayor & City Council of Baltimore, No.
1:18cv800, 2018 WL 1963816 (D.Md. Apr. 25, 2018) (Russell, J.); Anne Arundel County v.
Purdue Pharma, No. 1:18cv519, 2018 WL 1963789 (D.Md. Apr. 25, 2018) (Russell, J.); County
of Greenville v. Rite Aid of S.C., Inc., No. 6:18cv1085, 2018 U.S. Dist. Lexis 187478 (D.S.C. May
21, 2018) (Cain, J.); County of Spartanburg v. Rite Aid of S.C., Inc., No. 7:18cv1799, 2018 U.S.
Dist. Lexis 185367 (D.S.C. July 25, 2018) (Hendricks, J.); County of Anderson v. Rite Aid of S.C.,
Inc., No. 8:18cv1947, ECF No. 44 (D.S.C. Aug. 20, 2018) (Hendricks, J.); County of Lexington v.
Rite Aid of S.C., Inc., No. 3:18cv2357, ECF No. 32 (D.S.C. Oct. 9, 2018) (Hendricks, J.); Brooke
County Comm’n v. Purdue Pharma, No. 5:18cv9, 2018 U.S. Dist. Lexis 72360 (N.D. W.Va. Feb.
23, 2018) (Bailey, J.); County of Dallas v. Purdue Pharma, No. 3:18cv426, 2018 U.S. Dist. Lexis
73931 (N.D. Tex. Mar. 7, 2018) (Lynne, J.); County of Delta v. Purdue Pharma, No. 4:18cv95,
2018 WL 1440485 (E.D. Tex. Mar. 22, 2018) (Mazzant, J.); County of Falls v. Purdue Pharma,
No. 6:18cv47, 2018 WL 1518849 (W.D. Tex. Mar. 28, 2018) (Pitman, J.); County of Travis v.
Purdue Pharma, No. 1:18cv254, 2018 WL 1518848 (W.D. Tex. Mar. 28, 2018) (Pitman, J.);
County of Van Zandt v. Amerisourcebergen Corp., No. 6:18cv64, ECF No. 73 (E.D. Tex. Apr. 6,
2018) (Schroeder, J.); Order and Memorandum, City of Worcester v. Purdue Pharma, et al. No.
18-cv-11958 (D. Ma. Nov. 21, 2018), ECF Nos. 22, 27; New Hampshire v. Purdue Pharma, et al.,
1:17-cv-427-PB, 2018 WL 333824, at *4 (D.N.H. Jan. 9, 2018); Delaware ex rel. Denn v. Purdue
Pharma L.P., No. 18-cv-383, 2018 WL 1942363 (D. Del. Apr. 25, 2018); New Mexico ex rel.
Balderas v. Purdue Pharma L.P., No. 18-cv-00386, 2018 WL 2943246 (D.N.M. June 12, 2018);
West Virginia ex rel. Morrisey v. McKesson Corp., No. CV 16-1772, 2017 WL 357307, at *9
(S.D.W. Va. Jan. 24, 2017); Memorandum Opinion and Order, West Virginia ex rel. Morrisey v.
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            Because it is plainly apparent that this Court lacks jurisdiction over Plaintiffs’ cases, the

     Court may not exercise any of its judicial prerogatives other than to remand the cases to state court.

     That being the case, it is improper for the Court to compel Plaintiffs to file Plaintiff Fact Sheets,

     and it is improper for the Court to require Plaintiffs to file amended complaints in this Court.

I.          THERE IS NO FEDERAL SUBJECT MATTER JURISDICTION OVER THE
            PLAINTIFFS’ CASES

            A. THERE IS NO DIVERSITY JURISDICTION

            There is no federal diversity jurisdiction over Plaintiffs’ cases, as each Plaintiff asserts

     claims against at least one Virginia citizen.2 See Owen Equip. & Erection Co. v. Kroger, 437 U.S.

     365 at 373 (1978) (“[D]iversity jurisdiction does not exist unless each defendant is a citizen of a

     different State from each plaintiff.”). Each Plaintiff asserts claims against at least one, and up to

     three of the following Virginia citizens: McKesson Medical-Surgical Inc., General Injectables &

     Vaccines, Inc., and Insource, Inc. (collectively, the “Virginia Distributors”).

            In an attempt to overcome the indisputable lack of complete diversity, Defendants assert

     fraudulent joinder and Rule 21 severance arguments that have been consistently rejected by district

     courts in similar contexts. See Mayor & City Council of Baltimore v. Purdue Pharma L.P., No.

     1:18cv800, 2018 WL 1963816 (D.Md. Apr. 25, 2018) (Russell, J.); Anne Arundel Cty. v. Purdue

     Pharma L.P., No. 1:18cv519, 2018 WL 1963789 (D. Md. Apr. 25, 2018) (Russell, J.); Cty. of

     Greenville v. Rite Aid of S.C., Inc., No. 6:18cv1085, 2018 U.S. Dist. Lexis 187478 (D.S.C. May



     McKesson Corp., No. 17-cv-3555 (S.D. W. Va. Feb. 15, 2018), ECF No. 21; Order, Oklahoma ex
     rel. Hunter v. Purdue Pharma, L.P., No. 18-cv-574 (D. Okla. Aug. 3, 2018), ECF No. 53; Uintah
     County v. Purdue Pharma, L.P., No. 18-cv-585, 2018 WL 3747847 (D. Utah Aug. 7, 2018); Weber
     County v. Purdue Pharma, L.P., No. 18-cv-89, 2018 WL 3747846 (D. Utah Aug. 7, 2018).
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       Several Plaintiffs have asserted claims against all three Virginia Distributors, and those that have
     only asserted claims against one Virginia Distributor filed motions to amend their complaints in
     state court prior to removal in order to add claims against all three Virginia Distributors. Those
     motions to amend were not taken up in the state courts prior to removal of the Plaintiffs’ cases.
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21, 2018) (Cain, J.); Cty. of Spartanburg v. Rite Aid of S.C., Inc., No. 7:18cv1799, 2018 U.S. Dist.

Lexis 185367 (D.S.C. July 25, 2018) (Hendricks, J.); Cty. of Anderson v. Rite Aid of S.C., Inc., No.

8:18cv1947, ECF No. 44 (D.S.C. Aug. 20, 2018) (Hendricks, J.); Cty. of Lexington v. Rite Aid of

S.C., Inc., No. 3:18cv2357, ECF No. 32 (D.S.C. Oct. 9, 2018) (Hendricks, J.); Brooke County

Comm’n v. Purdue Pharma L.P., No. 5:18cv9, 2018 U.S. Dist. Lexis 72360 (N.D. W.Va. Feb. 23,

2018) (Bailey, J.); Cty. of Dallas v. Purdue Pharma L.P., No. 3:18cv426, 2018 U.S. Dist. Lexis

73931 (N.D. Tex. Mar. 7, 2018) (Lynne, J.); Cty. of Delta v. Purdue Pharma L.P., No. 4:18cv95,

2018 WL 1440485 (E.D. Tex. Mar. 22, 2018) (Mazzant, J.); Cty. of Falls v. Purdue Pharma L.P.,

No. 6:18cv47, 2018 WL 1518849 (W.D. Tex. Mar. 28, 2018) (Pittman, J.); Cty. of Travis v. Purdue

Pharma L.P., No. 1:18cv254, 2018 WL 1518848 (W.D. Tex. Mar. 28, 2018) (Pitman, J.); Cty. of

Van Zandt v. Amerisourcebergen Corp., No. 6:18cv64, ECF No. 73 (E.D. Tex. Apr. 6, 2018)

(Schroeder, J.).

       Specifically, federal district courts within the Fourth Circuit have rejected arguments

similar or identical to those raised by Defendants. See The County Board of Arlington Cty., Va.,

No. 1:19cv402, ECF No. 63; Dinwiddie Cty., Va. v. Purdue Pharma L.P., et al., No.

3:19cv242(REP), ECF No. 49 (E.D. Va. June 18, 2019); Cty. of Anderson v. Rite Aid of S.C., Inc.,

No. 8:18cv1947, ECF No. 44 (D.S.C. Aug. 20, 2018) (Hendricks, J.); Cty. of Greenville v. Rite

Aid of S.C., Inc., 2018 U.S. Dist. Lexis 187478 (Cain, J.); Cty. of Spartanburg v. Rite Aid of S.C.,

Inc., 2018 U.S. Dist. Lexis 185367 (Hendricks, J.); Cty. of Lexington v. Rite Aid of S.C., Inc., No.

3:18cv2357, ECF No. 32 (D.S.C. Oct. 9, 2018) (Hendricks, J.); Mayor & City Council of Baltimore

v. Purdue Pharma L.P., No. 1:18cv800, 2018 WL 1963816 (D.Md. Apr. 25, 2018) (Russell, J.);

Anne Arundel Cty. v. Purdue Pharma L.P., No. 1:18cv519, 2018 WL 1963789 (D. Md. Apr. 25,




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2018) (Russell, J.); Brooke County Comm’n v. Purdue Pharma L.P., No. 5:18cv9, 2018 U.S. Dist.

Lexis 72360 (N.D. W.Va. Feb. 23, 2018) (Bailey, J.).

       In addition to the wave of precedent that counsels in favor of rejecting Defendants’

assertions, there is no fraudulent joinder here because Plaintiffs have alleged facts sufficient to

establish a “possibility of a right to relief” against the Virginia Distributors. Marshall v. Manville

Sales Corp., 6 F.3d 229, 233 (4th Cir. 1993). In order to establish that a nondiverse defendant has

been fraudulently joined, Defendants must establish either: (1) “that there is no possibility that the

plaintiff would be able to establish a cause of action against the in-state defendant in state court;”

or (2) “that there has been outright fraud in the plaintiff’s pleading of jurisdictional facts.” Id. at

232. Here, Defendants argue that there is no possibility that each Plaintiff could establish a cause

of action against the Virginia Distributors. See, e.g., City of Alexandria, Dkt. 23 at ¶ 53; City of

Galax, Dkt. 32 at ¶ 65.

       “The burden on the defendant claiming fraudulent joinder is heavy: the defendant must

show that the plaintiff cannot establish a claim against the nondiverse defendant even after

resolving all issues of fact and law in the plaintiff’s favor.” Marshall at 232-33 (citing Poulous v.

Naas Foods. Inc., 959 F.3d 69, 73 (7th Cir. 1992)). The Removing Defendants must prove “there

is no possibility that the plaintiff would be able to establish a cause of action[.]” Mayes v. Rapoport,

198 F.3d 457, 464 (4th Cir. 1999) (quoting Marshall at 232 (emphasis added)). Stated alternatively,

Plaintiffs need only demonstrate a “glimmer of hope” to relief in order to have the case remanded.

Hartley v. CSX Transp., Inc., 187 F.3d 422, 426 (4th Cir. 1999).

       As described above, each Plaintiff asserts claims against at least one and up to three

Virginia Distributors. Each Plaintiff’s complaint specifically includes the Virginia Distributors in

the complaint’s category of “Distributor Defendants” and makes multiple specific factual



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allegations that serve as the basis of the claims against them. See, e.g., City of Galax, Plaintiff’s

Amended Complaint, Dkt 1-1 at 121-255, ¶¶ 129-31, 142-43, 155-157. Each Plaintiff asserts eight

(8) separate causes of action against the Virginia Distributors, including statutory and common

law public nuisance (Counts I and II), common law civil conspiracy (Count V), negligence per se

(Count VII), negligence (Count VIII), gross and willful and wanton negligence (Counts IX and

X), and unjust enrichment (Count XI).

       As discussed above, Plaintiffs need only demonstrate a “glimmer of hope” to relief in order

to have the case remanded. Hartley, 187 F.3d at 426. The facts alleged by each Plaintiff are more

than sufficient to state a colorable claim under Virginia law against the Virginia Distributors. See,

e.g., The County Board of Arlington Cty., Va., No. 1:19cv402, ECF No. 63 at p. 8 (rejecting nearly

identical fraudulent joinder arguments because “it cannot be said that there is ‘no possibility’ or

no ‘glimmer of hope’ that Plaintiff can obtain relief from the Virginia Distributors[]”); Cordill v.

Purdue Pharma, L.P., No. 1:02CV00121, 2002 U.S. Dist. LEXIS 21476, at *8, 2002 WL

31474466, at *3 (W.D. Va. Nov. 5, 2002) (granting a motion to remand and noting that under

Virginia law, “the use of the word ‘negligence’ in a motion for judgment will generally suffice to

state a valid cause of action against a defendant[]”). Thus, because it simply “cannot be said that

no reasonable basis exists for holding [the Virginia Distributors] liable” under Virginia law, there

is no federal diversity jurisdiction. Myers v. Air Serv. Corp., 1:07cv911, 2008 U.S. Dist. LEXIS

1836, *3, 2008 WL 149136, at *3 (E.D. Va. Jan. 9, 2008).

       B. CAFA DOES NOT APPLY TO THE PLAINTIFFS’ CASES

       CAFA does not apply to the Plaintiffs’ cases because they are not class actions. As the

Western District of Virginia recently ruled in a nearly identical opioid action, CAFA cannot apply

where, as in this case, “the claims are not brought pursuant to any state class action rule or statute



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because there is none in Virginia.” City of Galax v. Purdue Pharma, L.P., Civil Action No. 7:18-

cv-00617, 2019 U.S. Dist. LEXIS 24551, at *15 (W.D. Va. Feb. 14, 2019).

       CAFA permits defendants to remove class actions to federal court. The statute defines a

“class action” as “any civil action filed under Rule 23 of the Federal Rules of Civil Procedure or

similar State statute or rule of judicial procedure authorizing an action to be brought by 1 or more

representative persons[.]” 28 U.S.C. § 1332(d)(1)(B).

       Here, each Plaintiff filed its own complaint seeking to recover the past, present, and future

expenditures it has incurred responding to the opioid epidemic. The Plaintiffs do not seek damages

common to any class members, and they did not file their claims pursuant to any Virginia statute

or rule that provides a procedure by which any Plaintiff would sue on behalf of other members of

a class. In fact, Virginia procedure does not even provide for class actions. Casey v. Merck & Co.,

722 S.E.2d 842, 846 (Va. 2012) (“Virginia jurisprudence does not recognize class actions.”).

       Nevertheless, Defendants contend that each Plaintiff’s claims are brought on behalf of its

individual residents, and thus those residents should be considered the “real” parties in interest for

purposes of CAFA’s provisions. See, e.g., Dickenson Cty., Va., No. 2:18cv00048, Dkt 1

(hereinafter, “Notice of Removal”) at ¶¶ 15-17 This argument fails. The Fourth Circuit has

specifically rejected the argument that citizens of a public body should be considered the real

parties in interest when the public body sues for damages. See AU Optronics v. South Carolina,

699 F.3d 385 (4th Cir. 2012); West Virginia v. CVS Pharm., Inc. 646 F.3d 169 (4th Cir. 2011).

       Defendants further contend that Plaintiffs’ cases should be viewed as class actions under

CAFA because the City of Martinsville, Virginia, in a separate lawsuit, sought to have claims

against these Defendants transferred to a specific circuit court for coordinated or consolidated

pretrial proceedings pursuant to Virginia Code § 8.01-267.4. See Notice of Removal at ¶ 14. This



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does not support removal either. The consolidation process does not involve the representative

elements of a class action; Plaintiffs cannot act “on behalf of” any other parties to the consolidated

cases, and they did not file their respective complaints “on behalf of” any other party. See Va.

Code Ann. §§ 8.01-267.1 et seq. (containing provisions related to Virginia’s Multiple Claimant

Litigation Act).

       Moreover, and perhaps most importantly, CAFA class action removal jurisdiction is not

available where “the number of members of all proposed plaintiff classes in the aggregate is less

than 100.” 28 U.S.C. § 1332(d)(5)(B). There are indisputably significantly less than 100 locality

plaintiffs that may be impacted by any orders entered by the panel convened under Virginia’s

Multiple Claimant Litigation Act.

       Furthermore, while Defendants describe the Virginia process as an effort to create a state-

based MDL, that comparison is not relevant to the question of class action removal. Indeed, CAFA

itself recognizes that there is a difference between, on the one hand, class action procedure where

a named plaintiff in a single case acts on behalf of a “class” of unnamed plaintiffs, and, on the

other hand, “mass actions,” where there are multiple individual cases sharing common questions

of law and fact.

       If anything, the Plaintiffs’ cases would be treated as a “mass action” for CAFA purposes.

However, a “mass action” under CAFA is only removable where there are (i) more than 100 cases,

and (ii) common questions of law and fact between the claims. 28 U.S.C. § 1332(d)(11)(B)(i).

There are far fewer than 100 cases potentially impacted by the Multiple Claimant Litigation Act

proceedings, so CAFA’s “mass action” provisions do not apply either. Tellingly, the Removing

Defendants do not even contend that CAFA’s “mass action” provisions apply, presumably because

they realize that the 100-case barrier is insurmountable.



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       Finally, if there were any remaining doubt (and there should not be), the Western District

of Virginia rejected the Removing Defendants’ exact arguments mere months ago. The court

explained:

       The Removing Defendants contend that this action is a class action because it is, in
       effect, brought on behalf of the residents of the City of Martinsville. (Notice of
       Removal ¶ 16, City of Martinsville, No. 4:18-cv-72, Dkt. No. 1 ("The City's alleged
       injuries derive from its residents' injuries and cannot be separated from those
       injuries.").) First of all, this statement is not an accurate characterization of the
       complaint. Instead, this lawsuit seeks damages and other relief for injuries directly
       incurred by the plaintiff. The fact that the complaint also references harms to its
       residents does not transform the complaint into a representative action, nor may the
       court engage in a claim-by-claim approach to determine the plaintiff's interest in
       the suit. Instead, the Fourth Circuit has instructed "the court to consider the
       complaint in its entirety and decide from the nature and substance of its allegations
       what interest the [plaintiff] possesses in the lawsuit as a whole." AU Optronics
       Corp. v. South Carolina, 699 F.3d 385, 391 (4th Cir. 2012). Doing so here leads
       the court to conclude that the City is not asserting claims as a representative
       member of a class.

       But even if the lawsuit were brought entirely on behalf of the residents, that would
       not render it a CAFA class action. West Virginia ex rel. McGraw v. CVS Pharm.,
       Inc., 646 F.3d 169, 172 (4th Cir. 2011) (hereinafter CVS Pharm.) (holding that a
       parens patriae case was not removable under CAFA as a class action). Quite
       simply, it was not filed under Federal Rule of Civil Procedure 23, and Virginia does
       not have a similar state statute or rule that authorizes "an action to be brought by 1
       or more representative persons." Casey v. Merck & Co., 283 Va. 411, 722 S.E.2d
       842, 846 (Va. 2012) ("Virginia jurisprudence does not recognize class actions.").
       To be a "similar" state statute or rule to Rule 23, a provision must, at a minimum,
       provide a procedure binding on behalf of the named plaintiff and also binding on
       behalf of all others in the class. CVS Pharm., 646 F.3d at 175. As the Fourth Circuit
       has explained in another case where a state was asserting claims on behalf of its
       individual citizens, "for a representative suit to be a class action, the representative
       party 'must be part of the class and possess the same interest and suffer the same
       injury as the class members.'" CVS Pharm., 646 F.3d at 175-76.

       Removing Defendants have not shown that these requirements are satisfied here.
       That is, even if Removing Defendants were correct that the claims are effectively
       being brought on behalf of residents, and the residents are the members of the class,
       the claims are not brought pursuant to any state class action rule or statute because
       there is none in Virginia. Nor are the claims based on a rule or statute that would
       bind each resident or citizen of the City. Critically, moreover, the City of
       Martinsville would not be a "member" of such a class, its claims would not be
       typical of the class, and it did not suffer the same injury as other class members.

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City of Galax v. Purdue Pharma, L.P., Civil Action No. 7:18-cv-00617, 2019 U.S. Dist. LEXIS

24551, at *13-16 (W.D. Va. Feb. 14, 2019). The Eastern District of Virginia recently agreed,

holding that “the County Board, rather than the County’s citizens, is the real party in interest; and

there is therefore an insufficient showing that the Court has CAFA jurisdiction.” The County Board

of Arlington Cty., Va., No. 1:19cv402, ECF No. 63 at p. 14.

       Therefore, CAFA does not apply to the Plaintiffs’ cases, just as it has been deemed not to

apply to other opioid cases. See New Hampshire v. Purdue Pharma, et al., 1:17-cv-427-PB, 2018

WL 333824, at *4 (D.N.H. Jan. 9, 2018) (rejecting the Removing Defendants’ CAFA argument);

Purdue Pharma L.P. v. Kentucky, 704 F.3d 208, 220-21 (2d Cir. 2013) (rejecting the Removing

Defendants’ arguments and concluding that CAFA removal jurisdiction did not exist).

       C. THERE IS NO FEDERAL QUESTION AT ISSUE IN ANY OF PLAINTIFFS’
          CASES

       Federal subject matter jurisdiction is also lacking due to the absence of any federal question

at issue in Plaintiffs’ cases. All eleven causes of action pled in each case arise under Virginia law,

and every element that each Plaintiff must establish to prove those eleven causes of action derives

from and depends upon Virginia law.

       The fact that certain of the Plaintiffs’ state law causes of action allege violations “of

Virginia and Federal Law” and note that the Defendants have a duty to comply with the Controlled

Substances Act, 21 U.S.C. §§ 801 et seq. does not confer federal question jurisdiction. See Merrell

Dow Pharm., Inc. v. Thompson, 478 U.S. 804, 813 (1986) (The “presence of a federal issue in a

state cause of action does not automatically confer federal-question jurisdiction.”). Defendants

have not and cannot establish that these causes of action could not possibly exist without relying

on federal law. See Lontz v. Tharp, 413 F.3d 435, 441 (4th Cir. 2005).



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        Accordingly, there is no federal question subject matter jurisdiction over Plaintiffs’ cases,

and the federal courts should do nothing but remand the cases to state court, just as courts across

the country, including the MDL Court, have remanded similar opioid cases to state courts based

on the lack of federal question jurisdiction. See, e.g., The County Board of Arlington Cty., Va., No.

1:19cv402, ECF No. 63 at p. 15 (rejecting nearly identical arguments for federal question

jurisdiction because “none of the claims depend exclusively, or even primarily, on Defendants’

duties under . . . federal statutes[]”); Commonwealth of Kentucky v. Walgreens Boots All., Inc., (In

Re: National Prescription Opiate Litigation), MDL No. 2804, 1:18-op-46311-DAP (N.D. Ohio

Jan. 14, 2019), No. 13 (Polster, J.) (granting a State plaintiff’s Motion to Remand, rejecting

defendants’ arguments for federal question jurisdiction seeking to invoke the Grable exception);

Montana v. Purdue Pharma (In Re: National Prescription Opiate Litigation), MDL No. 2804,

2018 U.S. Dist. LEXIS 143589, **5-7, 2018 WL 4019413, at *3 (N.D. Ohio Aug. 23, 2018)

(Polster, J.) (same); New Mexico ex rel. Balderas v. Purdue Pharma L.P., 323 F. Supp. 3d 1242,

1250 (D.N.M. 2018) (rejecting Removing Defendants’ federal question argument); City of Reno

v. Purdue Pharma, L.P., No. 3:18-cv-454, 2018 U.S. Dist. LEXIS 187821, 2018 WL 5730158, *4

(D. Nev. Nov. 2, 2018); Weber Cty. v. Purdue Pharma, L.P., No. 1:18-CV-00089-RJS, 2018 U.S.

Dist. LEXIS 133312, 2018 WL 3747846, at *9 (D. Utah Aug. 7, 2018); Uintah Cty. v. Purdue

Pharma, L.P., No. 2:18-CV-00585-RJS, 2018 U.S. Dist. LEXIS 133310, 2018 WL 3747847, at

*9 (D. Utah Aug. 7, 2018); Del. ex rel. Denn v. Purdue Pharma L.P., No. 1:18-cv-383, 2018 U.S.

Dist. LEXIS 69406, 2018 WL 1942363, at *1 (D. Del. Apr. 25, 2018); State of Oklahoma v. Purdue

Pharma, No. Civ-18-574-M, Dkt. No. 53 (W.D. Okla. Aug. 3, 2018).



II.     WHERE THERE IS NO SUBJECT MATTER JURISDICTION, THIS COURT
        LACKS THE AUTHORITY TO ORDER PLAINTIFFS TO COMPLETE

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       PLAINTIFFS’ FACT SHEETS OR TO ORDER PLAINTIFFS TO FILE
       AMENDED COMPLAINTS IN FEDERAL COURT

       It is inappropriate for a federal court to exercise its judicial prerogatives before it has

determined whether it has subject matter jurisdiction, and that is particularly true in this instance,

in light of the significant doubts as to federal subject matter jurisdiction in these cases. See, e.g.,

First Am. Nat. Bank v. Straight Creek Processing Co., 756 F. Supp. 945, 946 (E.D. Va. 1991) (“A

finding that the Court lacks jurisdiction deprives it of the power to take action in the case. Once a

Court finds that it lacks jurisdiction in a case, the only option available to the Court is dismissal.”

(citation omitted)). As noted above, every district court in the Fourth Circuit that has ruled on the

merits of a motion to remand an opioid case similar to the Plaintiffs’ cases has remanded the case

to state court. The readily apparent lack of federal subject matter jurisdiction over Plaintiffs’ cases

deprives this Court of the power to take any action in the cases, including the power to compel

Plaintiffs to file Plaintiff Fact Sheets and the power to compel Plaintiffs to file Amended

Complaints in this Court. That being the case, Plaintiffs’ objections should be sustained.

                                           CONCLUSION

       Accordingly, Plaintiffs respectfully request that this Court sustain its objections to filing

Plaintiff Fact Sheets and Amended Complaints in this Court until such time that this Court

addresses Plaintiffs’ motions to remand.

                                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been furnished

to all counsel of record via the Court’s Electronic Filing System on July 2, 2019:




                                                     s/Kevin Sharp
                                                     Kevin H. Sharp
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